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 7   Attorney for Landlord/Movant
 8
                          IN THE UNITED STATES BANKRUPTCY COURT
 9                           IN AND FOR THE DISTRICT OF ARIZONA
10
11                                                 )
     In re                                         )
12                                                                  CHAPTER 13
                                                   )
13                                                 )
     CRYSTALE JEAN REASON,                                  CASE NO. 2:23-bk-08892-BKM
                                                   )
14                                                 ) (Assigned to the Honorable Judge Brenda K.
15                                      Debtor. )                      Martin)
                                                   )
16                                                 )
17                                                 )
                                                   )
18   PIERCE PEAK, LLC, an Arizona limited )
19   liability company, aka Pierce Peak LLC, dba )
     ARLO, ArLo Apartments or by other similar )
20   names, and at times acting through its agent, )
21   MARK-TAYLOR RESIDENTIAL, INC., an )
     Arizona corporation, aka Mark-Taylor )
22   Residential, Inc.,                            ) MOTION FOR ACCELERATED HEARING
23                                                 ) NOT LATER THAN DECEMBER 26, 2023
                              Landlord/Movant, )
24                                                 )    (Primarily Re: 2121 North 44th Street,
25                        v.                       )   Apartment No. 4412, Phoenix, Arizona
                                                   )                    85008)
26   CRYSTALE JEAN REASON, aka Crystale )
27   Reid, aka Crystale Reason, aka Crystale J. )
     Reason, Debtor; TREVOR D. REID, Co-Debtor; )
28   CAITLYN A. REID, Co-Debor, and RUSSELL )
29   BROWN, Chapter 13 Trustee,                    )
                                                   )
30                                 Respondents. )
31                                                 )
32           Simultaneously herewith, Landlord/Movant PIERCE PEAK, LLC, an Arizona limited
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     liability company, aka Pierce Peak LLC, dba ARLO, ArLo Apartments or by other similar
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35   names, and at times acting through its agent, MARK-TAYLOR RESIDENTIAL, INC., an

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 1   Arizona corporation, aka Mark-Taylor Residential, Inc. (“MOVANT”) is filing a pleading
 2   captioned: “Motion For Relief From The Automatic Stay & Co-Debtor Stay, Including An In
 3
     Rem Adjudication, Together With An 11 U.S.C. 362(j) Order” (“Motion”).
 4
 5              MOVANT submits that an Accelerated Hearing on the Motion, which needs to be
 6   conducted not later than December 26, 2023, is warranted, so that an eviction hearing
 7
     scheduled in State Court for January 2, 2024 at 2:00 p.m. can be conducted, because:
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 9             1.        Debtor/Respondent CRYSTALE JEAN REASON, aka Crystale Reid, aka Crystale
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     Reason, aka Crystale J. Reason (“DEBTOR”), Co-Debtor/Co-Respondent TREVOR D. REID (“T.
11
12   REID”) and Co-Debtor/Co-Respondent CAITLYN A. REID (“C. REID”) are MOVANT’s
13   tenants.
14
               2.        DEBTOR, T. REID and C. REID (collectively “REID Family) are related to each
15
16   other as mother, father and adult daughter.
17             3.        When no 11 U.S.C. § 362(a) automatic stay existed, MOVANT commenced
18
     prosecuting an eviction against the REID Family, specifically, Case No. CC2023-190801EA,
19
20   Encanto Justice Court (“Pending Eviction”).
21             4.        The next Hearing in the Pending Eviction is scheduled for January 2, 2024 at 2:00
22
     p.m.
23
24             5.        Because they are eight (8) months behind on their rental payment obligations,
25   beginning with the month of May 2024, the REID Family are presently an eye-popping over
26
     $27,511.72 in arrears on the Lease.
27
28             6.        The REID Family are bankruptcy serial filers, who for seven (7) months now,
29   have been misusing the Bankruptcy Code to delay their inevitable eviction.
30
               7.        The Motion is now the third 11 U.S.C. § 362(d) Motion the REID Family have
31
32   forced MOVANT to prosecute.
33             8.        During the past seven (7) months, the REID Family have filed four (4) different
34
     bankruptcies.
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                                                        2
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 1             9.        DEBTOR has filed two (2) bankruptcies, Case No. 2:23-bk-08892-BKM
 2   (“DEBTOR’s First BK), and this case, T. REID has filed two (2) bankruptcies, Case No. 2:23-bk-
 3
     03067-SHG (“T. REID’s First BK”) and Case No. 2:23-bk-03897-EPB (“T. REID’s Second BK”).
 4
 5             10.       C. REID joined forces with her parents in playing bad faith bankruptcy games by
 6   daughter filing at Case Docket #25 in DEBTOR’s First Bankruptcy an Objection to a § 362(d)
 7
     Motion that MOVANT prosecuted.
 8
 9             11.       The REID Family began slowing-down MOVANT from evicting them by T. REID
10
     commencing T. REID’s First BK on May 10, 2023, which was dismissed on May 26, 2023.
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12             12.       Before T. REID’s First BK was dismissed, on May 16, 2023, MOVANT filed a §
13   362(d) Motion and related initial pleadings at Case Docket ##12, 13 and 14.
14
               13.       To further slow-down the eviction, on June 12, 2023, T. REID commenced T.
15
16   REID’s Second BK, which was dismissed on July 28, 2023.
17             14.       Before T. REID’s Second BK was dismissed, an Order was entered on July 13,
18
     2023 at Case Docket #28 denying T. REID’s 11 U.S.C. 362(c)(3)(B) Motion to Continue the 11
19
20   U.S.C. § 362(a) automatic stay filed on July 10, 2023 at Case Docket #23.
21             15.       To further slow-down the eviction, DEBTOR commenced DEBTOR’s First BK on
22
     October 5, 2023.             On October 10, 2023 at Case Docket ##14, 15 and 16, MOVANT filed a §
23
24   362(d) Motion and related initial pleadings at Case Docket ##14, 15 and 16. A Preliminary
25   Hearing on this § 362(d) Motion should have taken place on December 5, 2023 at 10:00 a.m.,
26
     but DEBTOR’s First BK was dismissed, at DEBTOR’s request filed on December 1, 2023 at Case
27
28   Docket #47, on December 4, 2023 at Case Docket #48.
29             16.       An eviction hearing, which MOVANT has been attempting to complete for seven
30
     (7) months now, was scheduled for yesterday afternoon, December 12, 2023, in the Pending
31
32   Eviction.
33             17.       But to further slow-down the eviction, DEBTOR commenced this case yesterday
34
     morning.
35
                                                          3
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 1
 2             18.       This case is scheduled to be dismissed on or after December 27, 2023 because
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     DEBTOR hasn’t paid her filing fee, and also, hasn’t filed a myriad of required initial pleadings,
 4
 5   including without limitation, her Schedules and Statement of Affairs, Chapter 13 Plan, etc.).
 6             Accordingly, MOVANT hereby respectfully requests that the Court complete and enter
 7
     with the Bankruptcy Clerk of Court the proposed form of Order captioned:                       “Order
 8
 9   Scheduling Accelerated Hearing” (“Order”) that MOVANT is simultaneously lodging
10
     herewith.
11
12             The following disclosures are made to satisfy MOVANT’s further compliance with
13   Local Bankruptcy Rule 9013-1(i):
14
                         (i)       no attorneys represent any of the opposing parties;
15
16                       (ii)      so that MOVANT will have absolute assurance that a State
17                                 Court eviction hearing can proceed as scheduled on January
18
                                   2, 2024 at 2:00 p.m., the Accelerated Hearing needs to be
19
20                                 conducted not later than December 26, 2023, before this case
21                                 is dismissed,
22
23   and
24                       (iii)     no one has yet been served with the Motion, but the Motion,
25
                         this pleading, and others filed simultaneously by MOVANT too,
26
27                       are being mailed-out today, December 13, 2023, to all necessary
28                       parties.
29
                                                         PRAYER
30
31             Based upon all of the foregoing, MOVANT is lodging simultaneously herewith, and
32   respectfully requests the Court promptly complete and issue, the Order, which provides
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     MOVANT the relief requested above, which after its issuance, MOVANT shall ensure is
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35   promptly served upon all necessary parties.
                                                           4
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 1             MOVANT’s counsel undersigned has checked his calendar and can attend the
 2   Accelerated Hearing hereby requested on any of the following dates that he hopes the
 3
     Court’s own calendar can accommodate:
 4
 5                       anytime on December 19, 20, 21 and 22, and
 6                       anytime on December 26.
 7
     Although understandably, MOVANT would prefer the Court complete the Order by filling-in
 8
 9   a date and time scheduling the requested Accelerated Hearing that matches one of the earliest
10
     dates stated above.
11
12             RESPECTFULLY SUBMITTED this 13th day of December 2023.
13
                                                        LAW OFFICES OF DAVID L. KNAPPER
14
15                                                             /s/ David L. Knapper
16                                                             Attorney for MOVANT
17
18   FILED this 13th day of December 2023
19
20   TRANSMITTED this 13th day of December
21   2023, to:
22
     The Honorable Judge Brenda K. Martin
23
     United States Bankruptcy Court
24   230 North First Avenue
25   Phoenix, Arizona 85003
26
27   COPIES of the foregoing mailed this 13th day
28   of December 2023, to:
29
30   All necessary parties as evidenced by the
     pleading captioned: “Declaration Of Service”
31
     to be filed this 13th day of December 2023
32
33   /s/David L. Knapper________________________
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35
                                                        5
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